






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-92-368-CR




J. PRUDENCIO RODRIGUEZ-IZQUIERDO,


	APPELLANT


vs.




THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT





NO. 41,270, HONORABLE JACK W. PRESCOTT, JUDGE



                       




PER CURIAM


	This is an appeal from a conviction for attempted murder.  Punishment was
assessed at confinement for 5 years.

	Appellant has filed a motion to dismiss the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. Ann.
59(b) (Pamph. 1992).



[Before Chief Justice Carroll, Justices Jones and Kidd]

Dismissed On Appellant's Motion

Filed:  October 7, 1992

[Do Not Publish]








October 7, 1992






Mr. Stephen E. Blythe

Tarver, Bachus &amp; Blythe

P. O. Box 2088

Temple, Texas  76501


Honorable James T. Russell

Administrative Assistant

Bell County Courthouse

P. O. Box 540

Belton, Texas  76513


					Re:	No. 3-92-368-CR--J. Prudencio Rodriguez-Izquierdo v. The State of Texas

						(t/c no. 41,270)


Counsel:


In accordance with Rule 91, Texas Rules of Appellate Procedure, enclosed is a copy of the
opinion and judgment handed down by this Court on this date in the above cause.


The Court's mandate has been issued this date to the clerk of the trial court under separate cover.


						Very truly yours,


						W. KENNETH LAW, CLERK



						By

							Barbara E. Chapman, Deputy

Enclosures


xc:	State Prosecuting Attorney

	Clerk, Court of Criminal Appeals

	Honorable Jack W. Prescott, District Judge

	Mrs. Daffy Carpenter, District Clerk

	TRIAL COURT NO. 41,270



THE STATE OF TEXAS.


TO THE 27TH DISTRICT COURT of BELL COUNTY - GREETINGS:


	Before our COURT OF APPEALS, on the 7th of October A.D. 1992, the cause upon appeal to
revise or reverse your Judgment between




					J. PRUDENCIO RODRIGUEZ-IZQUIERDO, Appellant,

No. 3-92-368-CR				vs.     

					THE STATE OF TEXAS, Appellee,


was determined; and therein our said COURT OF APPEALS made its orders in these words:


THIS CAUSE came on to be heard on the written motion of the appellant to dismiss the appeal and the
same being considered, because it is the opinion of this Court that the same should be granted:  it is
ORDERED, ADJUDGED and DECREED by the Court that appellant be allowed to withdraw notice of
appeal and that the appeal be dismissed; that the appellant pay all costs in this behalf expended; and that
this decision be certified below for observance.


	WHEREFORE, We command you to observe the order of said COURT OF APPEALS in this
behalf and in all things have it duly recognized, obeyed and executed.

 

					WITNESS the HONORABLE JIMMY CARROLL, Chief Justice
of our said COURT OF APPEALS for the Third District of Texas,
with the seal thereof annexed, at the City of Austin, this the 7th day
of October A.D. 1992.


					W. KENNETH LAW, CLERK




					by:&nbsp;                                        , Deputy

					&nbsp;    &nbsp;Barbara E. Chapman








October 7, 1992






Mrs. Daffy Carpenter

District Clerk

Bell County Courthouse

104 S. Main

Belton, Texas  76513


					Re:	No. 3-92-368-CR--J. Prudencio Rodriguez-

						Izquierdo v. State of Texas

						(t/c no. 41,270)


Dear Mrs. Carpenter:


Enclosed, with reference to the above cause, is the mandate of this Court.  Please acknowledge
your receipt of same by returning the enclosed card (No. 1) to this office, appropriately
completed.


Rule 87(b), Texas Rules of Appellate Procedure, sets out the procedures to be followed upon your
receipt of the mandate.


Upon execution of the mandate in accordance with the rule, either your office or the sheriff's
office should return the remaining card enclosed (No. 2), appropriately completed.


Your cooperation in this regard is appreciated.


						Very truly yours,


						W. KENNETH LAW, CLERK



						by

							Barbara E. Chapman, Deputy


Enclosures to Clerk


xc:	Mr. Stephen E. Blythe

	Honorable James T. Russell

MR. STEPHEN E. BLYTHE

TARVER, BACHUS &amp; BLYTHE

P. O. BOX 2088

TEMPLE TX  76501

HONORABLE JAMES T. RUSSELL

ADMINISTRATIVE ASSISTANT

BELL COUNTY COURTHOUSE

P. O. BOX 540

BELTON TX  76513

MRS. DAFFY CARPENTER

DISTRICT CLERK

BELL COUNTY COURTHOUSE

104 S. MAIN

BELTON TX  76513


